Case 2:18-cv-11273-MCA-LDW Document 1987 Filed 02/15/22 Page 1 of 2 PageID: 57144




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                                                                           February 15, 2022

  VIA ECF AND E-MAIL


  Special Master Thomas P. Scrivo, Esq.
  O’Toole Scrivo, LLC
  14 Village Park Road
  Cedar Grove, NJ 07009

  tscrivo@oslaw.com
           RE:      Occidental Chemical Corp. v. 21st Century Fox America, Inc., et al.
                    Docket No. 2:18-cv-11273-MCA-LDW

  Dear Special Master Scrivo:

           OxyChem’s letter (Dkt. 1983) ignores the undeniable fact that a settlement with the United
  States will have a substantial impact on this case warranting a stay. Contrary to OxyChem’s
  assertion, the plain language of CERCLA, long-standing EPA policy, and decades of jurisprudence
  all incentivize settlements with the United States by providing protection to settlers from private
  party litigation like this one. Section 113(f)(2) of CERCLA provides:

           A person who has resolved its liability to the United States or a State in an
           administrative or judicially approved settlement shall not be liable for claims for
           contribution regarding matters addressed in the settlement.

  42 U.S.C. § 9613(f)(2).1 Entry of a consent decree would bar all contribution claims by any
  party—including OxyChem—against the settling defendants for any costs covered in the matters
  addressed by the consent decree.

          Understanding this reality, OxyChem filed this lawsuit in June 2018 as an attempted end-
  run around EPA’s allocation process (started in 2017), conducted by a neutral allocator with
  expertise in CERCLA cases. OxyChem’s litigation was premature to begin with, has wasted



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    See also, e.g., 42 ECF No. 1943-4 (EPA developed and pursued this allocation process and settlement framework
  “[i]n accordance with the strong policy preference for settlements with responsible parties under CERCLA to avoid
  spending resources on litigation rather than on cleanup”); United States v. Alcan Aluminum, Inc., 25 F.3d 1174, 1184
  (3d Cir. 1994) (“Congress created CERCLA to encourage settlement, thereby reducing the time and expense of
  enforcement litigation that necessarily diverts time and money from cleanup and restoration.” (quotation marks
  omitted)). In fact, the case cited by OxyChem, American Thermoplastics, makes this clear: “[Section 113(f)(2)] leaves
  PRPs who do not join in a first-round settlement with the risk of bearing a disproportionate share of liability, a
  technique which promotes early settlements and deters litigation for litigation’s sake.” New Jersey Dep’t of Env’t Prot.
  v. Am. Thermoplastics Corp., 974 F.3d 486, 490 (3d Cir. 2020) (cleaned up).


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Case 2:18-cv-11273-MCA-LDW Document 1987 Filed 02/15/22 Page 2 of 2 PageID: 57145

  PRETI FLAHERTY
  Special Master Thomas P. Scrivo, Esq.
  February 15, 2022
  Page 2

  judicial resources, and undeniably continues to divert funds away from cleaning up the Lower
  Passaic River.

         It should be no surprise, then, that OxyChem now wants to ignore the CERCLA provisions
  providing protection from suits like this one to parties that settle with the United States. See 42
  U.S.C. § 9613(f)(2). It also should be no surprise that OxyChem would try to justify the
  continuation of this litigation by cherry-picking issues with two of the over 100 parties it sued.
  But unlike OxyChem, these two parties have cooperated with the government allocation and
  settlement process. And these parties have already provided and will continue to provide responses
  to OxyChem’s purported issues.

         In short, the Special Master should take OxyChem’s letter yesterday for what it really is: a
  desperate last-minute attempt to impede the United States’ settlement process.

         I look forward to further discussing these issues with you tomorrow.




                                                       Sincerely,




                                                       Jeffrey D. Talbert

  cc:    Counsel of Record via ECF




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